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 8                                UNITED STATES DISTRICT COURT

 9                               NORTHERN DISTRICT OF CALIFORNIA

10   IN RE: ROUNDUP PRODUCTS                           MDL No. 2741
     LIABILITY LITIGATION
11                                                     Case No. 3:16-md-02741-VC

12   This document relates to:
13   Robin Brown et al. v. Monsanto Co.,
     Case No. 3:17-cv-04437-VC
14

15           MONSANTO COMPANY’S CORPORATE DISCLOSURE STATEMENT
16          Pursuant to Federal Rule of Civil Procedure 7.1, Defendant Monsanto Company
17   (“Monsanto”) makes the following disclosures:
18          1.     Monsanto is not owned by any parent corporation.
19          2.     No publicly traded company owns 10% or more of the stock of Monsanto.
20   DATED: October 12, 2017                         Respectfully submitted,
21                                                   /s/ Joe G. Hollingsworth
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                  MONSANTO COMPANY’S CORPORATE DISCLOSURE STATEMENT
                                  3:16-md-02741-VC & 3:17-cv-04437-VC
